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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 STEVEN CHURCH, et al.,

     Plaintiffs,                                         No. 21-cv-2815 (CKK)

         v.

 JOSEPH R. BIDEN, in his official capacity as
 President of the United States, et al.,

     Defendants.


                            DEFENDANTS’ CONSENT MOTION
                     TO STAY DEADLINE TO RESPOND TO COMPLAINT

       Defendants respectfully move to stay their deadline to answer or otherwise respond to the

complaint in this case. In support of that request, Defendants state as follows.

       1.          Plaintiffs commenced this action by filing a complaint on October 24, 2021. See

ECF No. 1. Plaintiffs served the United States Attorney for the District of Columbia on November

12, 2021, and Defendants’ response to the Complaint is therefore due January 11, 2022. See Fed.

R. Civ. P. 12(a)(2).

       2.          Counsel for Plaintiffs has informed counsel for Defendants that Plaintiffs expect to

file an amended complaint by Friday, January 7, 2022. Should Plaintiffs file an amended

complaint, the original complaint will be moot, and Defendants’ default deadline to respond to the

amended complaint will be fourteen days from its filing. See Fed. R. Civ. P. 15(a)(3).

       3.          In order to avoid any possibility of Defendants failing to timely respond to the

original complaint in the unanticipated event that Plaintiffs do not file their amended complaint

prior to January 11, 2022, Defendants respectfully request that the Court stay their deadline to
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respond to the original complaint filed in this case. Defendants will respond to the amended

complaint in compliance with the Federal Rules and any subsequent order from this Court.

       4.       Counsel for Defendants conferred with counsel for Plaintiffs before filing this

motion. Counsel for Plaintiffs indicated that Plaintiffs consent to the relief requested herein.


Dated: January 5, 2022                                Respectfully submitted,

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                                                      Acting Assistant Attorney General

                                                      ANTHONY J. COPPOLINO
                                                      Deputy Director

                                                      CHRISTOPHER R. HALL
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                                                      /s/ Steven A. Myers
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